         Case 1:19-cv-11452-MKV Document 44 Filed 07/13/21 Page 1 of 4




                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK                     USDC SDNY
                                                                              DOCUMENT
 SECURITIES AND EXCHANGE COMMISSION,                                          ELECTRONICALLY FILED
                                                                              DOC #:
                                Plaintiff,                                    DATE FILED: 

                       v.                                            No. 1:19-cv-11452-MKV

 SUNEET SINGAL,
 FIRST CAPITAL REAL ESTATE TRUST INC.,
 FIRST CAPITAL REAL ESTATE ADVISORS, LP,
 and FIRST CAPITAL REAL ESTATE
 INVESTMENTS, LLC,
                      Defendants.

                         FINAL JUDGMENT AS TO DEFENDANT
                       FIRST CAPITAL REAL ESTATE TRUST INC.

       The Securities and Exchange Commission (“Commission”) having filed a Complaint and

Defendant First Capital Real Estate Trust Inc. (“Defendant”) having entered a general

appearance; consented to the Court’s jurisdiction over Defendant and the subject matter of this

action; consented to entry of this Final Judgment without admitting or denying the allegations of

the Complaint (except as to jurisdiction); waived findings of fact and conclusions of law; and

waived any right to appeal from this Final Judgment:

                                                 I.

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is

permanently restrained and enjoined from violating, directly or indirectly, Section 10(b) of the

Securities Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. § 78j(b)] and Rule 10b-5

promulgated thereunder [17 C.F.R. § 240.10b-5], by using any means or instrumentality of

interstate commerce, or of the mails, or of any facility of any national securities exchange, in

connection with the purchase or sale of any security:

       (a)     to employ any device, scheme, or artifice to defraud;


                                                 1
          Case 1:19-cv-11452-MKV Document 44 Filed 07/13/21 Page 2 of 4




        (b)     to make any untrue statement of a material fact or to omit to state a material fact

                necessary in order to make the statements made, in the light of the circumstances

                under which they were made, not misleading; or

        (c)     to engage in any act, practice, or course of business which operates or would

                operate as a fraud or deceit upon any person.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).

                                                 II.

        IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

is permanently restrained and enjoined from violating Section 17(a) of the Securities Act of 1933

(the “Securities Act”) [15 U.S.C. § 77q(a)] in the offer or sale of any security by the use of any

means or instruments of transportation or communication in interstate commerce or by use of the

mails, directly or indirectly:

        (a)     to employ any device, scheme, or artifice to defraud;

        (b)     to obtain money or property by means of any untrue statement of a material fact

                or any omission of a material fact necessary in order to make the statements

                made, in light of the circumstances under which they were made, not misleading;

                or

        (c)     to engage in any transaction, practice, or course of business which operates or

                would operate as a fraud or deceit upon the purchaser.



                                                  2
         Case 1:19-cv-11452-MKV Document 44 Filed 07/13/21 Page 3 of 4




       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).


                                                III.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

is permanently restrained and enjoined from violating Section 15(d) of the Exchange Act [15

U.S.C. § 78o(a)] and Rule 15d-1 [17 C.F.R. § 240.15d-1] and Rule 15d-13 [17 C.F.R. § 240.15d-

13] thereunder, by failing to file accurate periodic and current reports with the Commission.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).

                                                IV.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is

incorporated herein with the same force and effect as if fully set forth herein, and that Defendant

shall comply with all of the undertakings and agreements set forth therein.




                                                 3
         Case 1:19-cv-11452-MKV Document 44 Filed 07/13/21 Page 4 of 4




                                                V.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.




Dated:-XO\
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                                              UNITEED STATES
                                              UNITED       ES DISTRICT JUDGE
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